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   8                         UNITED STATES DISTRICT COURT
   9                       CENTRAL DISTRICT OF CALIFORNIA
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  11   JORGE GONZALEZ,                             Case No. CV 19-5318 DSF (PVC)
  12                      Petitioner,
                                                               JUDGMENT
  13         v.
  14   R. C. JOHNSON, Warden,
  15                      Respondent.
  16
  17         Pursuant to the Court’s Order Accepting Findings, Conclusions and
  18   Recommendations of United States Magistrate Judge,
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  20         IT IS HEREBY ADJUDGED that the above-captioned action is dismissed with
  21   prejudice.
  22    DATED: December 1, 2021
  23                                          Honorable Dale S. Fischer
                                              UNITED STATES DISTRICT JUDGE
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